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 8                         UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11   WILLIAM BOYKINS, and LASHAE                      Case No.: 21-CV-1812 JLS (AHG)
     BRAXTON,
12
                                    Plaintiffs,       ORDER (1) RECUSING FROM CASE
13                                                    AND (2) REQUESTING
     v.                                               REASSIGNMENT
14
     CITY OF SAN DIEGO, AMIR ADIEH,
15
     MICHAEL MARTINEZ, UNKNOWN
16   SDPD OFFICERS
17                               Defendants.
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19        Presently before the Court is Plaintiffs William Boykins and Lashae Braxton’s
20   Complaint (ECF No. 1). The undersigned HEREBY RECUSES from this case and
21   REQUESTS that another District Judge be assigned.
22        IT IS SO ORDERED.
23   Dated: October 27, 2021
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                                                                           21-CV-1812 JLS (AHG)
